                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JAMES PHILLIPS, and ROBERT                       §
SAEMIAN,                                         §
                                                 §
                         Plaintiffs              §
       v.                                        §       CIVIL ACTION NO. 4:18-CV-00821
                                                 §
WIPRO LIMITED,                                   §
                                                 §
                         Defendant.              §


                         NOTICE OF SETTLEMENT IN PRINCIPLE

       Pursuant to Local Rule 16.3 and Section 6 of Hon. Alfred H. Bennett’s Court Procedures

and Practices, Plaintiffs James Phillips and Robert Saemian (“Plaintiffs”) and Defendant Wipro

Limited (“Wipro”) hereby provide notice to the Court that the Parties have reached a settlement

in principle in this matter. Accordingly, the Parties jointly request that the Court stay all Court

proceedings and deadlines, including the upcoming trial that is set to begin on or after September

12, 2022. See Dkt. 258 (setting September 9, 2022 docket call and September 12 trial date).The

parties are in the process of drafting a settlement agreement and anticipate filing a Stipulation of

Dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) within thirty (30) days.
Dated: August 26, 2022                              Respectfully submitted,

By: /s/Daniel Kotchen                               By: /s/Kerry E. Notestine
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                                                    Attorneys for Defendant, Wipro Limited


                                 CERTIFICATE OF SERVICE

       I certify that on August 26, 2022, I filed the foregoing document using the Court’s CM/ECF

system, which automatically sent notice to the counsel of record.


                                                      /s/Daniel Kotchen
                                                      Daniel Kotchen




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